                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                               CRIMINAL NO. 5:06CR49-V

UNITED STATES OF AMERICA           )
                                   )
            vs.                    )                         ORDER
                                   )
LUIS CORCHO SUAREZ,                )
                  Defendant.       )
__________________________________ )

       THIS MATTER is before the Court on Defendant’s “Appeal of Magistrate’s Detention Order

Request for Hearing” pursuant to 18 U.S.C. § 3145(b), filed November 14, 2006. (Doc. #19)

       Defendant’s original detention hearing was held on September 18, 2006 before United

States Magistrate Judge David Keesler. At the conclusion of that hearing, Defendant was ordered

detained.   The Magistrate Judge noted that the Government had strong evidence against

Defendant Suarez, including admissions made by his co-defendant. On October 17, 2006,

Defendant moved for reconsideration. (Doc. #11)        Defendant appeared before United States

Magistrate Judge Carl Horn on November 6, 2006 and presented additional information (i.e.,

establishing ties to his Florida community) that tended to lessen the Government’s concern that he

may be a flight risk. Defendant was continued in custody because the Magistrate Judge found that

the presumption of detention had not been rebutted.

       This Court reviews de novo the magistrate judge's detention order. 18 U.S.C. §3145(b);

United States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has listened to the audio

recording of the original detention hearing, reviewed the transcript of the second hearing, and

reviewed the original Pretrial Services Report, which recommended detention.

       The Defendant is charged with conspiring to possess with intent to distribute at least five

kilograms of cocaine, in violation of 21 U.S.C. §846 and possessing with intent to distribute the

same quantity of cocaine, or aiding and abetting, in violation of 21 U.S.C. §841(a)(1) and 18 U.S.C.

§2. Because the Grand Jury found that probable cause exists that Defendant committed an

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offense for which a maximum term of imprisonment of ten (10) years or more is prescribed, a

rebuttable presumption arises that no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of the community. 18 U.S.C. §3142(e).

       In determining whether there are conditions of release that will reasonably assure the

appearance of the Defendant and the safety of other persons and the community, the Court

considers all evidence regarding:

       (1)     the nature and circumstances of the offense charged (including whether the offense
               if a crime of violence or involves a narcotic drug);
       (2)     the weight of the evidence against the person;
       (3)     the history and characteristics of the person, including —
                        (A) the person’s character, physical and mental condition, family ties,
                        employment, financial resources, length of residence in the community,
                        community ties, past conduct, history relating to drug or alcohol abuse,
                        criminal history, and record concerning appearances at court proceedings;
                        and
                        (B) whether, at the time of the current offense or arrest, the person was on
                        probation, on parole, or on other release pending trial, sentencing, appeal,
                        or completion of sentence for an offense under Federal, State, or local law;
                        and
       (4)     the nature and seriousness of the danger to any person or the community that
               would be posed by the person's release. . .

18 U.S.C. §3142(g). Upon review of these factors, the Court agrees that bond is not appropriate.

Defendant has not rebutted the presumption in this case in light of the nature and circumstances

of the offenses charged (i.e., alleged modus operandi of transporting controlled substances

between New York and Florida in vehicles with hidden compartments), the admissions of the

passenger co-defendant, and his prior felony drug conviction from 1999.

       Taking all of the factors into consideration, the Court finds that no condition or combination

of conditions of bond will reasonably assure the appearance of the Defendant and the safety of

other persons and the community.

       IT IS, THEREFORE, ORDERED that Defendant’s Appeal of the Magistrate Judge’s

Detention Order is hereby DENIED. Defendant’s motion for a hearing is likewise DENIED.

Defendant shall remain in custody pending adjudication on the charged offenses.



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          IT IS FURTHER ORDERED that the Clerk shall certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal, and the United States Probation

Office.



                                               Signed: January 3, 2007




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